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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                        (Baltimore Division)

    In re
                                                             Case No. 25-10308 (DER)
    Diamond Comic Distributors, Inc., et al.,
                                                             Chapter 11
                                       1
                             Debtors.
                                                             (Jointly Administered)

                                                             Re: D.I. 196

            NOTICE OF FILING OF REVISED PROPOSED ORDER APPROVING THE
             DEBTORS’ KEY EMPLOYEE INCENTIVE PLAN AND KEY EMPLOYEE
                                  RETENTION PLAN

            PLEASE TAKE NOTICE that on March 6, 2025, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of an Order

Approving Key Employee Incentive Program and Key Employee Retention Program [D.I. 196]

(the “Motion”).2

            PLEASE TAKE FURTHER NOTICE that the deadline for parties to object or otherwise

respond to the Motion was March 20, 2025, as extended for the Official Committee of Unsecured

Creditors to March 24, 2025 (together the “Objection Deadline”).

            PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a revised

proposed order granting the relief requested in the Motion (the “Revised Proposed Order”).

            PLEASE TAKE FURTHER NOTICE that a blackline comparing the Revised Proposed

Order with the proposed order attached to the Motion is attached hereto as Exhibit B.




1
      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.
2
      Capitalized terms used but not defined herein are defined in the Motion
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Dated: March 26, 2025                 SAUL EWING LLP


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                                      Counsel for Debtors and Debtors in Possession




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